
By the Court.
It is not necessary to set out the precise hour of the day that the application is to be made, but we think it incumbent on the applicants to prove that they are freeholders and residents in the county of which the petition and advertisements allege them to be; particularly as it is denied.
The fact was then proved by persons in court, on which,
Mr. Stockton then contended, that it was necessary to have ten petitioners from each county.
Kirkpatrick, C. J.
It has been adjudged [492] that ten freeholders in all is sufficient.1
It was then proved that a former order had been made for laying out a road over the same ground, with a small nominal variance; but that the former order extended a considerable distance beyond the one now applied for; and that one application was for a four rod road, and the other for a three rod road; that the surveyors met on the order, and refused to lay out the road, and that the year had not expired since the former order.
By the Court.
It is substantially the same road. The applicants must wait the year.2
Cited in Smock v. Vanderveer, 12 Vr. 304.
Overruled in Matter of Road, 2 Halst. 37.

 Contra 2 Halst. 36.


 See Pat. 389, sec. 11; Rev. L. 616; Vide. South. 347.

